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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MINNESOTA

CAREERCODE, LLC                     )
                                    )
            Plaintiff,              )              Case No. _________________
                                    )
v.                                  )
                                    )
CMG CLIQUE MEDIA GROUP, INC.,       )
                                    )
            Defendant,              )
                                    )
and KATHERINE POWER,                )
                                    )
            Defendant,              )
                                    )
and HILLARY KERR                    )
                                    )
            Defendant.              )
____________________________________)


       COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES FOR
     TRADEMARK INFRINGEMENT; UNFAIR COMPETITION; FALSE
     DESIGNATION OF ORIGIN; AND DECEPTIVE TRADE PRACTICES

       Plaintiff CareerCode, LLC, for its Complaint against Defendants CMG Clique

Media Group, Inc., Katherine Power, and Hillary Kerr, alleges as follows:

                                          PARTIES

       1.     Plaintiff CareerCode, LLC (“CareerCode”) is a Minnesota limited liability

company having a place of business at 5353 Wayzata Boulevard, Suite 202

Minneapolis, Minnesota 55416.

       2.     On information and belief, Defendant CMG Clique Media Group, Inc.

(“CMG”) is a Delaware corporation having a place of business at 360 North La Cienega

Boulevard, 3rd Floor, Los Angeles, California 90048.
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        3.      On information and belief, Defendant Katherine Power (“Power”) is the

president of CMG, and therefore has an employment address of 360 North La Cienega

Boulevard, 3rd Floor, Los Angeles, California 90048.

        4.      On information and belief, Defendant Hillary Kerr (“Kerr”) is employed by

CMG, and therefore has an employment address of 360 North La Cienega Boulevard, 3rd

Floor, Los Angeles, California 90048 (CMG, Power, and Kerr collectively referred to

herein as the “Defendants”).

                                 JURISDICTION AND VENUE

        5.      This is an action arising under the Trademark Laws of the United States, 15

U.S.C. §1051 et seq.

        6.      This Court has subject matter jurisdiction over this action under 28 U.S.C.

§§1331, 1332, 1338(a) and 1338(b). CareerCode’s claims for unfair competition and

deceptive trade practices are brought pursuant to 28 U.S.C. §1338(b).

        7.      This Court has both general and specific personal jurisdiction over each of

the Defendants. On information and belief, each of the Defendants transacts business and

has continuous and systematic contacts in this District, or have otherwise made or

established contacts within this District sufficient to permit the exercise of personal

jurisdiction.

        8.      Venue is proper in this Judicial District under 28 U.S.C. §1391(b).

                                        BACKGROUND

        9.      CareerCode was founded by Jan Lowe, a vocational rehabilitation

counselor, and Tracy Lungrin, a student counseling professional, to assist individuals in

more clearly understanding their own characteristics and talents to guide them in making



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vocational and life choices that are most likely to bring long-term satisfaction. In 2003,

Ms. Lowe and Ms. Lungrin began developing an interactive tool to provide users with

constructive feedback on how to align users’ interests and abilities with personally

rewarding vocations.     Ms. Lowe and Ms. Lungrin implemented the tool to provide

vocational guidance services under the brand “Career Code”.

       10.     CareerCode is the owner of United States Service Mark Registration No.

3,613,030, issued on April 28, 2009 for the mark “CAREER CODE” for use in connection

with “providing on-line vocational guidance services” (hereinafter the “Registration”). A

copy of the Certificate of Registration for this mark is attached hereto as Exhibit 1.

       11.     CareerCode’s Registration is a valuable asset and has considerable goodwill

and value.

       12.     To expand upon its on-line and in-person guidance services, CareerCode in

2012 published a first book using the mark “CareerCode”. The book describes an

enlightening process that links personal traits, interests, and work environments to real and

practical careers in today’s rapidly changing world. The book was the first in a series of

written publications authored by Ms. Lowe and Ms. Lungrin using the mark “CareerCode”,

including a series of workbooks for guiding individuals at various stages of their career.

Images of the covers of the “CareerCode” series of books are attached as Exhibits 2-7.

       13.     Over the many years of providing vocational guidance services and offering

a series of books pertaining to vocational guidance, CareerCode has used both “Career

Code” and “CareerCode”, given their nearly identical appearance, sound, and commercial

impression. These nearly identical formats are hereinafter referred to as the “Mark”.




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       14.     CareerCode operates a website at CareerCode.com to promote its books and

vocational guidance services.

       15.     On information and belief, Defendants Power and Kerr are authors of a book

titled “THE CAREER CODE: Must-Know Rules for a Strategic, Stylish, and Self-Made

Career” having an official publication date of May 17, 2016 (hereinafter the “Power/Kerr

Book”). An image of the cover of the Power/Kerr book is attached as Exhibit 8.

       16.     On information and belief, the Power/Kerr Book is marketed by Defendants

as “The Career Code”, and provides vocational guidance for the reader. According to

Abrams Books, the publisher of the Power/Kerr Book, “[t]he book is filled with insightful,

pragmatic ‘career codes’ to follow, as well as all of the practical, how-to advice they’ve

learned”, and further that “you will find the most useful and accessible tips and tricks to

strategically build your career into exactly what you want to be”.

       17.     On information and belief, Defendants Power and Kerr have begun

distributing the Power/Kerr Book. A website posting on twitter.com that, on information

and belief, is attributable to Kerr promoting sales of the Power/Kerr Book is attached as

Exhibit 9.

       18.     On information and belief, the Power/Kerr Book is published by Abrams

Books and is currently offered for sale at amazon.com. A print-out of an order page for

the Power/Kerr Book from amazon.com is attached as Exhibit 10.

       19.     On information and belief, the content of the Power/Kerr Book is also

available on-line in electronic format. A webpage print-out from abramsbooks.com

demonstrating the availability of the Power/Kerr Book in electronic format is attached as

Exhibit 11.



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       20.     On information and belief, Defendants Power and Kerr are advertising and

promoting the Power/Kerr Book by using the names “The Career Code” and “Career Code”

apart from the remainder of the full title of the Power/Kerr Book, giving the commercial

impression that the book title is “Career Code” or “The Career Code”. On information and

belief, Defendants Power and Kerr are also promoting the Power/Kerr Book through the

use of the keyword metatag “#careercode”, including through social media postings at

twitter.com and facebook.com.       A print-out from a posting at twitter.com that, on

information and belief is attributable to Kerr, is attached as Exhibit 12.

       21.     On information and belief, Defendants Power and Kerr co-founded CMG,

which, on information and belief, operates the websites WhoWhatWear.com, Byrdie.com,

and MyDomaine.com.

       22.     On information and belief, CMG is using the Mark to provide on-line

vocational guidance services, in violation of the Registration. On information and belief,

CMG is providing such on-line vocational guidance services through one or more social

media websites. Examples of such on-line website postings are attached as Exhibit 13.

       23.     On information and belief, CMG is promoting the Power/Kerr Book using

the keyword metatag “#careercode” on social media websites.

       24.     Defendants’ unauthorized use of the Mark has and will continue to

irreparably injure CareerCode by confusing customers, diverting sales, and diluting the

distinctiveness of Plaintiff’s trademark and service mark.        If permitted to continue,

Defendants’ use of the marks will continue to irreparably injure CareerCode, the reputation

and goodwill associated therewith, CareerCode’s reputation for exceedingly high-quality




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services and products, and the public interest in being free from confusion, mistake, or

deception.



               COUNT I: Violation of Lanham Act under 15 U.S.C. §1125

       25.      CareerCode reaffirms and realleges the allegations set forth in Paragraphs

1-24 above.

       26.      Defendants’ unauthorized use of the Mark constitutes a false designation of

origin and false description of representation. Such use is likely to cause confusion, or to

cause mistake, by an existing customer or prospective customer of CareerCode seeking its

goods or services. Additionally, Defendants’ use of the Mark is likely to cause confusion,

or to cause mistake in customers associating CareerCode’s services and goods with those

offered by Defendants, and will likely cause CareerCode to lose value in the Mark, its

identity in services and products, its corporate identity, control over its goodwill and

reputation, and ability to move into new markets. Defendants’ conduct therefore violates

15 U.S.C. §1125(a), including pursuant to the doctrine of Initial Interest Confusion.

       27.      On information and belief, Defendants will continue their unauthorized and

damaging use of the Mark unless and until Defendants are enjoined by this Court.

       28.      As a result, CareerCode will be damaged and will be irreparably injured

unless and until Defendants’ infringing activities are enjoined by this Court.

              COUNT II: Infringement of Federally Registered Trademark

                                Pursuant to U.S.C. §1114

       29.      CareerCode reaffirms and realleges the allegations set forth in Paragraphs

1-28 above.



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       30.       Defendants’ unauthorized use of the Mark, as registered in the Registration,

and confusingly similar variations thereof, in the sale and marketing of Defendants’

services is an infringement of CareerCode’s Registration, and is likely to cause confusion,

mistake and deception of the public as to the identity and origin of CareerCode’s services.

       31.       The goodwill of CareerCode’s business relevant to the Mark is of significant

value, and CareerCode’s trade reputation and goodwill will suffer irreparable harm should

Defendants’ infringement be allowed to continue.

       32.       As a result, CareerCode will be damaged, and will be irreparably injured

unless and until Defendants’ infringing activities are enjoined by this Court.

                 COUNT III: Unfair Competition and False Advertising

                                Pursuant to 15 U.S.C. §1125

       33.       CareerCode reaffirms and realleges the allegations set forth in Paragraphs

1-32 above.

       34.       Defendants’ unauthorized use of the Mark and confusingly similar

variations thereof in connection with the advertising, marketing, and sales of its goods and

services is in direct competition with CareerCode’s goods and services, and constitutes

unfair competition and false advertising pursuant to 15 U.S.C. §1125.

       35.       Defendants’ use of the Mark is likely to cause confusion, mistake, and

deception among consumers. Defendants’ unfair competition and false advertising has

caused and will continue to cause damage to CareerCode’s business, reputation and

goodwill, and is causing irreparable harm to CareerCode for which there is no adequate

remedy at law.




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       36.     Defendants knew or should have known that the use of the Mark was false

and likely to mislead consumers.

       37.     On information and belief, Defendants will continue to cause confusion,

mistake, and deception among consumers through its unauthorized use of the Mark unless

and until Defendants are enjoined by this Court.

       38.     As a result, CareerCode will be damaged and will be irreparably injured

unless and until Defendants’ unlawful activities are enjoined by this Court.

  COUNT IV: Deceptive Trade Practices under Minnesota Statute 325D.44 et seq.

       39.     CareerCode reaffirms and realleges the allegations set forth in Paragraphs

1-38 above.

       40.     Defendants have engaged in deceptive trade practices within the meaning

of Minn. Stat. 325D.44 Subd. 1 by causing likelihood of confusion or misunderstanding as

to the source, sponsorship, approval, or certification of goods or services.

       41.     Defendants have also engaged in deceptive trade practice under Minn. Stat.

325D.44 Subd. 1 in the course of their business by causing likelihood of confusion or

misunderstanding as to Defendants affiliation, connection, or association with CareerCode.

       42.     CareerCode is entitled to injunctive relief from Defendants’ deceptive trade

practices pursuant to Minn. Stat. 325D.45 Subd. 1.

       43.     Defendant has willfully engaged in the deceptive trade practices, and is

therefore subject to reasonable attorney’s fees pursuant to Minn. Stat. 325D.45 Subd. 2.




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                                PRAYER FOR RELIEF

WHEREFORE, CareerCode requests the following relief from this Court:

       1.      That Defendants and those parties associated with them be preliminarily and

permanently enjoined and prohibited from using the Mark or any confusingly similar

designation that is likely to cause confusion, mistake, deception or public misunderstanding

as to the origin of CareerCode’s services or products.

       2.      That CareerCode be awarded an amount equivalent to all damages sustained

by it as allowed under all relevant federal and state statutes and common law, including

Defendants’ profits which Defendants have realized as a result of its sale of products

promoted under the Mark.

       3.      That CareerCode be awarded its reasonable attorney’s fees and court costs.

       4.      That Defendants be compelled to deliver up for destruction all advertising

and promotional materials in their possession which discuss, advertise, or promote products

or services using the Mark.

       5.      That CareerCode be awarded statutory damages against the Defendants,

jointly and severally.

       6.      CareerCode further requests such other and further relief as the Court may

deem equitable and just.




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                              DEMAND FOR JURY TRIAL

          CareerCode hereby demands a trial by jury for all issues triable to a jury pleaded

herein.

                                       Respectfully submitted,

                                       HAUGEN LAW FIRM PLLP



Date: May 13, 2016                     /s/Mark J. Burns
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